






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00260-CV






Troy Rose, Appellant


v.


City of Brady, Texas, Appellee






FROM THE DISTRICT COURT OF MCCULLOCH COUNTY, 198TH JUDICIAL DISTRICT

NO. 2008143, HONORABLE EMIL KARL PROHL, JUDGE PRESIDING








M E M O R A N D U M   O P I N I O N


		The appellant's brief was due on July 9, 2009.  On July 21, 2009, this Court notified
appellant that his brief was overdue and that a failure to file a proper motion for extension of time
by July 31, 2009, would result in the dismissal of this appeal for want of prosecution.  To date, the
appellant has not filed a brief or a motion for extension of time. (1)  Accordingly, we dismiss this
appeal for want of prosecution.		

___________________________________________					          Diane M. Henson, Justice

Before Chief Justice Jones, Justices Waldrop and Henson

Dismissed for Want of Prosecution

Filed:   August 26, 2009
1.   On May 11, 2009, the appellant filed a motion to extend time to file his notice of appeal. 
Because the filing fee has not been paid and no certificate of conference has been filed, see Tex. R.
App. P. 10.1(a)(5), the motion remains pending and is hereby dismissed as moot. 


